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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Perla Mageno
                                Plaintiff,
v.                                                    Case No.: 1:18−cv−01150
                                                      Honorable Manish S. Shah
World Kitchen, LLC
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 17, 2018:


        MINUTE entry before the Honorable Manish S. Shah: Pursuant to the stipulation
of dismissal [14], this case is dismissed with prejudice and with each party to bear its own
costs and attorneys' fees. No appearance on 5/18/18 is necessary. Civil case terminated.
Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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